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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:08CR78
                              )
          v.                  )
                              )
JUAN RIOS-AVILES, MIGUEL      )                       ORDER
VENARCIO, and JOSE CORRALES, )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on plaintiff’s motion

for dismissal (Filing No. 115).        The Court finds the motion

should be granted.      Accordingly,

           IT IS ORDERED that plaintiff’s request for leave to

dismiss the indictment filed herein is granted.               The indictment

as it relates to defendants Juan Rios-Aviles, Miguel Venarcio,

and Jose Corrales is dismissed without prejudice.

           DATED this 21st day of April, 2017.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
